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                     IN THE UNITED STATES COURT OF APPEALS
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT


 ATTORNEY GENERAL OF THE                    )
 UNITED STATES OF AMERICA,                  )
                                            )
            Plaintiff-Appellant,            )
                                                   No. 22-5328
                                            )
       v.                                   )
                                                   Oral argument not yet scheduled
                                            )
 STEPHEN A. WYNN,                           )
                                            )
            Defendant-Appellee.             )

                                   Statement of Issues

      The Attorney General of the United States of America intends to raise the

following issue in this appeal:

      Whether the government, through a civil enforcement action, can require an

individual to register under the Foreign Agents Registration Act, 22 U.S.C. § 611

et seq., after he has ceased acting as a foreign agent.
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                                      Respectfully submitted,

                                      Matthew G. Olsen
                                      Assistant Attorney General for
                                      National Security

                                By:    s/Joseph P. Minta
                                      Joseph P. Minta
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                                      National Security Division
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Dated: January 11, 2023




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                               Certificate of Service

      I hereby certify that on this 11th day of January 2023, a copy of the forego-

ing Statement of Issues was filed electronically. Notice of this filing will be sent to

all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                           s/Joseph P. Minta
                                          Joseph P. Minta
                                          Attorney for the United States




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